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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                                 __________________

LORD M. THOMAS,                             Case No. 1:10-cv-329

               Plaintiff,
                                            HON. PAUL L. MALONEY,
v                                           CHIEF U.S. DISTRICT JUDGE

DOUGLAS M. HUGHES, an individual and
as Attorney for the Township of Muskegon,
ENRIKA L.F. MCGAHAN, an individual
and as Attorney for the Township of
Muskegon, WILLIAMS, HUGHES AND
COOK, a Michigan Professional Limited
Liability Corporation, THE CHARTER
TOWNSHIP OF MUSKEGON, and
JEFFREY B. WOOD, an individual and
Treasurer of the Township of Muskegon,

               Defendants.
Nicholas S. Ayoub (P61545)                  Craig R. Noland (P30717)
Wheeler Upham, P.C.                         Karl W. Butterer, Jr. (P51448)
Attorneys for Plaintiff                     Smith, Hughey Rice & Roegge
40 Pearl Street, N.W. - Ste. 200            Attorneys for Defendants Muskegon Charter
Grand Rapids, MI 49503                      Twp. and Jeffrey B. Wood
(616) 459-7100                              250 Monroe Ave. NW - Ste. 200
                                            Grand Rapids, MI 49503-2251
Eric C. Grimm (P58990)                      (616) 774-8000)
Williams Hughes & Cook, PLLC
Attorneys for Defendants Douglas M.
Hughes, Enrika L.F. McGahan, and
Williams, Hughes & Cook, PLLC
120 W. Apple Ave.
P.O. Box 599
Muskegon, MI 49443-0599
(231) 728-1111
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                                  JOINT STATUS REPORT


A Rule 16 Scheduling Conference is scheduled for Friday, June 4, 2010, at 10:00 a.m. , before
Magistrate Judge Joseph G. Scoville. Appearing for the parties as counsel will be:

       C Nicholas S. Ayoub (P61545) of Wheeler Upham, P.C. for the Plaintiff
       C Karl W. Butterer, Jr. (P51448) of Smith Haughey Rice & Roegge for the Defendants
         Charter Township of Muskegon and Jeffrey B. Wood.
       • Eric C. Grimm (P58990) of Williams Hughes & Cook, PLLC, for the Defendants
         Douglas M. Hughes, Enrika McGahan, and Williams Hughes & Cook, PLLC.

       1)     Jurisdiction: The issue of federal subject-matter jurisdiction is disputed.
              Defendants also raise several issues related to Federal abstention doctrines,
              exhaustion of state remedies, and also the defense of qualified immunity.
              Plaintiff’s position (not the position of any Defendant) concerning jurisdiction is
              as follows:

              “The court has subject matter jurisdiction over the claims under the Civil Rights
              Act of 1871 (42 U.S.C. '1983) which present a federal question, 28 U.S.C. '1331
              and supplemental jurisdiction of the state law claims pursuant to 28 U.S.C.
              '1367.”

              Defendant Township states:

              “Defendant Township acknowledges that Plaintiff has made reference to 42
              U.S.C. § 1983 and to 42 U.S.C. §1985. However, the complaint when read as a
              whole does not properly assert a federal question, any federal jurisdiction is not
              substantial, and the federal court should otherwise abstain from asserting its
              jurisdiction in this case.”

              Law Firm Defendants (Hughes, McGahan, and Williams, Hughes & Cook, PLLC)
              state:

              “In Law Firm Defendants’ view, Plaintiff has not adequately stated any claim
              upon which relief can be granted, under 42 U.S.C. §1983, or otherwise. In these
              Defendants’ view, no recognized ‘federal right’ has been identified by the
              Plaintiff, in such a way as to state a claim, or to give any Defendants fair notice of
              what – exactly – they are being called-on to defend against. Law Firm
              Defendants further dispute whether federal subject-matter jurisdiction can arise
              through the mere artifice of attempting to characterize a claim governed by state
              law, as one arising under 42 U.S.C. §1983. Law Firm Defendants contend that

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         Plaintiff has failed properly to exhaust available state-court remedies, and also
         urge this honorable Court to abstain from asserting jurisdiction, in deference to
         the state trial court with continuing jurisdiction over this matter”

  2)     Jury or Non-Jury: The case is to be tried to a jury.

  3)     Judicial Availability: The parties do not agree to have a United States Magistrate
         Judge conduct any and all further proceedings in the case, including trial, and to
         order entry of final judgment. Plaintiff would allow the United States Magistrate
         to conduct further proceedings.

  4)     Geographic Transfer: The parties are advised of the possibility, pursuant to W.D.
         Mich. LCivR 3.3(h), of a transfer of the action to a judge located in a different
         city, on the basis of the convenience of counsel, the parties, or witnesses.
         Reassignment of the action shall be at the discretion of the court and shall require
         the consent of all parties and of both the transferor and transferee judge. The
         parties shall advise whether a transfer for geographic convenience is warranted in
         this case.
         ________________________________________
         Geographic transfer is not warranted, and Grand Rapids is the most convenient of
         the cities in which the Western District of Michigan sits.

  5)     Statement of the Case: The parties have set forth separate statements of the case.


  Plaintiff’s statement of the case, which is not joined by any of the Defendants, is as
  follows:

  This case involves a claim by Plaintiff that Defendants conspired to deprive him of
  constitutionally protected rights under the color of law. The claim arises out of an
  underlying state-court lawsuit involving ordinance violations by Plaintiff. Plaintiff
  alleges that he was lured into signing a consent judgment by a promise made by the
  Defendants that no further claim for fees or costs would be made if Plaintiff agreed to
  enter into the consent judgment and that his prior payment of $624.00 would be deemed
  to satisfy their claim for fees/costs under the consent judgment. Despite Plaintiff’s
  intention to have the matter heard by the Judge, Plaintiff signed a consent judgment
  relying on the representations made by Defendant Erika McGahan and the Township
  Building Inspector, Jeff Ream, that if he gave up the right to argue the case, the township
  would not pursue any further claim for attorney fees or administrative costs. [Plaintiff
  anticipates adding Ream as a party defendant.] Despite the alleged representation,
  Defendants pursued a claim for additional costs and fees. When defendant protested this
  in light of the agreement, he was told by Defendant Hughes that Hughes would look into
  Plaintiff’s assertion. Some days later, Defendant Hughes sent a letter to plaintiff stating:

  “I have verified your prior payment to the Township in the amount of $624.00 as
  satisfaction of their claim for reimbursement of expenses.


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  Please disregard the October 8, 2009 letter to you and attachment.”

  Despite this and the failure to follow the procedure provided for in the State Court
  judgment, Defendants placed a charge on Plaintiff’s tax bill under the description “MISC
  LIEN.” Defendants have therefore denied Plaintiff certain property rights without
  affording him Constitutionally essential due process of law. Under Michigan law, the
  charge on the bill [“MISC LIEN”] denies plaintiff marketable title to the property. The
  Court will be called on to determine whether Plaintiff was afforded due process of law
  prior to Defendants depriving him of property rights.


  Township Defendant offers the following Statement of the Case, which is not joined by
  the Plaintiff:

  This case involves a dispute between the Plaintiff, the Township’s corporate counsel, and
  the Township regarding $1,310.50 in legal fees incurred by the Township in connection
  with the successful prosecution of Plaintiff for violation of the Township’s Building
  Code and Dangerous Building Ordinance. On July 20, 2009, the Plaintiff and the
  Township, through its corporate counsel, entered a Consent Judgment in the Muskegon
  Circuit Court which resolved the Township’s prosecution of Plaintiff for various code
  and ordinance violations. That Consent Judgment included a provision which required
  that Plaintiff pay the Township’s legal fees in connection with the prosecution. The
  Township’s corporate counsel submitted an invoice to Plaintiff for the legal fees.
  Plaintiff failed to timely object to the legal fees under the Circuit Court Order, and has
  otherwise failed to pay the entire invoice for legal fees. Due to Plaintiff’s failure to pay,
  Defendant Township sent Plaintiff his Winter 2009 Tax Bill with an entry that stated,
  “Misc Lien $1,310.50.” No lien has been filed with the County Register of Deeds.
  Plaintiff has failed to state a claim for violation of due process, conspiracy or slander of
  title. The Circuit Court retained its jurisdiction over the underlying case.


  Law Firm Defendants further state as follows (this statement is not joined by the
  Plaintiff):

  This case involves a collateral attack on the binding judgment of a state court, and an
  effort to oust Hon. William C. Marietti from his continuing jurisdiction over the parties
  and their dispute. The key issue for this honorable Court to decide is whether a federal
  forum exists, for a litigant experiencing “second thoughts” over the written terms of his
  state-court Consent Judgment, to litigate issues based solely on Plaintiff’s allegation that
  the parties’ “real” agreement was verbal, and off-the-record – not as embodied in the
  written Consent Judgment that Plaintiff himself read and signed.

  If Plaintiff is allowed to proceed in federal court, he certainly will not be the only litigant
  to seek to re-write a consent judgment in the manner Plaintiff proposes. And the issue of
  whether 42 U.S.C. § 1983, serves as a federal vehicle to accomplish that which Rule



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  2.507(G) of the MICHIGAN COURT RULES, expressly prohibits, will be of interest to a
  broad variety of governmental entities, throughout Michigan.

  Specifically, the Consent Judgment, entered by the 14th Circuit Court in Muskegon
  County, Michigan, on July 20, 2009, states, in relevant part:

  “IT IS FURTHER ORDERED AND ADJUDGED, that the Defendant, Lord M. Thomas
  shall reimburse the Plaintiff, the Township of Muskegon, for attorneys fees and costs in
  an amount to be detailed by an itemized billing prepared by counsel for the Plaintiff.”

  The Consent Judgment also establishes a procedure by which written objection could,
  prior to a set deadline, be made to the itemized billing. The Consent Judgment
  specifically states that Judge Marietti would exercise “continuing jurisdiction” over the
  matter before him:

  “IT IS FURTHER ORDERED AND ADJUDGED, that the Court shall retain its
  jurisdiction over this matter to monitor the Defendant’s compliance with the terms and
  conditions of this judgment.”

  The $1,310.50 at issue in this case represents the difference between the total amount of
  the attorney fees incurred by the Township ($1938.00), securing the July 20, 2009,
  Consent Judgment against Lord Thomas, and a prior payment, made on or about March
  2, 2009, by Thomas (or on his behalf) toward the Township’s attorney fee claim, in the
  amount of $627.50.

  Why were additional attorney fees incurred? They were incurred because Lord Thomas
  failed to sign and return, to the Township’s counsel, a previously-sent Consent Judgment,
  for entry by the state court. In order to ensure that Thomas was subject to a binding
  Consent Judgment, directing him to repair his residential structure, the Township’s
  counsel were required to do additional work, including but not limited to re-noticing the
  case for a “show-cause” hearing on July 20, 2009, and attending said hearing.

  At the July 20, 2009, “show-cause” hearing, attorney Enrika L.F. McGahan brought with
  her a consent judgment form, materially identical to the from that had been sent to Lord
  Thomas in March, 2009. In other words, Thomas not only had the opportunity to read
  and review the Consent Judgment, prior to signing it on July 20, 2009 – but he also had
  the whole time from March to July, 2009, to study the document. The Consent Judgment
  was signed by Lord Thomas and entered by the state court – without alteration – on July
  20, 2009.

  Thomas now alleges that the written terms of the 7/20/09 Consent Judgment do not
  express the terms of the parties’ agreement at all – but that instead, the parties’ rights
  should be governed by a purported verbal “side-agreement” or “representation,” that
  Thomas contends capped the Township’s right to attorney fees, at the amount of the prior
  payment of $627.50, even though additional work had been done.



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  Plaintiff’s self-serving allegations concerning any “side-agreement,” representation,” or
  “conspiracy,” are denied. To the extent that Plaintiff attempts to rely on a subsequent
  letter sent by Doug Hughes, many months after the Consent Judgment was signed, the
  fact of the matter is that Doug Hughes already fully addressed all issues related to the
  letter, prior to the Plaintiff’s filing of the lawsuit.

  To the extent that any fact dispute exists in this case about what was or was not said off-
  the-record when Thomas appeared for the July 20, 2009, “show-cause” hearing,
  Michigan state law renders the dispute immaterial. See Rule 2.507(G) of the
  MICHIGAN COURT RULES; Kloian v. Domino’s Pizza, LLC, 273 Mich. App. 449,
  456, 733 N.W.2d 766 (2006) (“By its terms, MCR 2.507[(G)] is in the nature of a statute
  of frauds.”). According to Michigan law, such a purported “side-agreement” or
  “representation” is void and without legal effect. Id.

  Does MCR 2.507(G), or Law Firm Defendants’ reasonable reliance on it, violate
  Plaintiff’s right to “Due Process?” Certainly not. Plaintiff had fair notice, multiple
  opportunities to be heard, and a neutral decision-maker – namely, Hon. William C.
  Marietti. Plaintiff had fair notice of the July 20, 2009 show-cause hearing, which he
  attended. Moreover, Plaintiff had more than two months to review the written terms of
  the Consent Judgment that he signed. If there had actually been any alteration in the
  written terms of the Consent Judgment by any Defendant with authority to agree to such
  changes, then Plaintiff had every opportunity either to embody those changes in the
  parties’ signed writing, or to go on record with the Muskegon County Circuit Court, to
  make any changes a matter of record. Further, Plaintiff had an additional opportunity to
  be heard. In accordance with the terms of the Consent Judgment, Plaintiff had an
  opportunity to make written objection to the bill that he received for $1938.00, which
  objection, if made in writing, required the dispute to be noticed for a court hearing.
  Alternatively, Plaintiff himself could have noticed any issue related to a purported verbal
  side-agreement for a hearing before Judge Marietti. It is undisputed that Plaintiff made
  no written objection to the $1938.00 bill, and that Plaintiff did not seek any hearing
  before Judge Marietti.

  Further, in Law Firm Defendants’ view, Plaintiff has not been “deprived” of any
  “property.” Obviously, plaintiff’s mere receipt of a paper bill demanding payment of
  $1300.00 (which payment never has been made by Plaintiff), does not in any way deprive
  him of any “property.” It is undisputed that no lien whatsoever has been recorded in the
  real property records of Muskegon County. Plaintiff’s self-serving assertion about a
  paper bill rendering title unmarketable, has no basis in Michigan law, and Plaintiff has
  been invited to come forward with a single citation to support his assertion. He has not
  done so.

  Law Firm Defendants are unaware of any factual – or legal – basis, whatsoever, for the
  Plaintiff to be in federal court. He certainly has not exhausted his available state-court
  remedies. Plaintiff also has not stated any viable claim for any “due process” violation.
  This is particularly important because, as recognized in Anderson v. Creighton, 483 U. S.
  635, 640 (1987): ‘[O]ur cases establish that the right the official is alleged to have
  violated must have been “clearly established” [by pre-existing law] in a more

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  particularized, and hence more relevant, sense: The contours of the right must be
  sufficiently clear that a reasonable official would understand that what he is doing
  violates that right.’ Law Firm Defendants have invited Plaintiff to identify any case-law
  there might be ‘clearly establishing’ the contours of any purported “federal right” that
  Plaintiff relies upon, and Plaintiff has not responded to this invitation.

  Law Firm Defendants respectfully note that a number of key issues in this case – such as
  (1) the lack of federal subject-matter jurisdiction; (2) the Plaintiff’s failure to state a
  claim upon which relief can be granted; (3) Defendants’ reliance on established federal
  abstention doctrine; (4) the issue of exhaustion of remedies; and (5) and the defense of
  qualified immunity – all are issues that should be addressed prior to the beginning of
  discovery. E.g., Sova v. City of Mt. Pleasant, 142 F.3d 898, 902 (6th Cir. 1998) (quoting
  Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)) (emphasizing that – in cases such as this
  one – issues of qualified immunity should be resolved prior to the commencement of
  discovery).

  Law Firm Defendants also want to take particular issue with any allegations of
  “conspiracy.” Plaintiff’s allegation of “conspiracy” is conclusory, and does not include
  any of the elements – such as the time, date, and place of any alleged conspiratorial
  “agreement,” or who, precisely were parties to the purported “conspiracy” – to properly
  state such a claim. See Fieger v. Cox, 524 F.3d 770, 776 (6th Cir. 2008) (upholding
  sanctions against attorney who has not adequately pleaded facts supporting civil-rights
  conspiracy claim against state-court judge); see also Briscoe v. Jackson, 285 Fed. Appx.
  205, 208 (6th Cir. 2008) (“Here, Briscoe has set forth “nothing more than the conclusory
  allegation that defendants acted in concert and, without more, failed to allege a sufficient
  factual basis to establish any sort of ‘meeting of the minds’ or to link any of the alleged
  conspirators in a conspiracy to deprive him of his civil rights.”) (citing Amadasu v. The
  Christ Hosp., 514 F.3d 504, 507 (6th Cir. 2008)). Perhaps even more important, since
  Plaintiff appears to seek to proceed under 42 U.S.C. §1985(3), is the reality that Plaintiff
  has failed to allege (and could not have any basis to allege) the essential element of
  “some racial, or perhaps otherwise class-based, invidiously discriminatory animus behind
  the [alleged] conspirators’ action.” See Griffin v. Breckenridge, 403 U.S. 88, 102 (1971)
  (unanimously holding that essential element of racial or class animus must be pleaded to
  state a conspiracy claim under §1985(3)). Plaintiff’s “conspiracy” claim is subject to
  dismissal due to lack of this essential element, and also due to a lack of the specificity
  required by Feiger and other Sixth Circuit precedent. Law Firm Defendants, again,
  categorically deny the existence of any “conspiracy.”

  6)     Pendent State Claims: Plaintiff states: “This case does include pendent state
         claims. Plaintiff alleges that Defendants’ actions also constitute slander of title
         giving rise to a cause of action under Michigan state statute and common law.
         Plaintiff anticipates amending the pleadings to state a claim for
         misrepresentation/fraud.”

         Defendants are of the view that any amendment attempting to add a claim for
         “misrepresentation / fraud” should be denied because the amendment would be
         futile. Defendants respectfully note that any claim for “slander of title” is subject

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        to dismissal for failure to allege an essential element, or alternatively on grounds
        of ripeness, because nothing has been recorded in the real property records to
        establish any lien.


  7)    Joinder of Parties and Amendment of Pleadings: Plaintiff expects to file
        all motions for joinder of parties to this action and to file all motions to amend
        the pleadings by July 1, 2010.

        Defendants are of the view that a briefing schedule should be established, to
        address important issues of subject-matter jurisdiction, failure to state a claim,
        qualified immunity, justiciability, and abstention, before any other proceedings
        make sense. Potential issues related to joinder and/or amendment may arise, and
        need to be addressed, while these threshold issues are under consideration by the
        Court. Accordingly, Defendants would respectfully suggest that (1) a briefing
        schedule be established on the threshold issues, and (2) that another Rule 16
        conference be held to address scheduling, 30 days after the Court has ruled on the
        threshold issues.

  8)    Disclosures and Exchanges:

        Again, Defendants believe that discovery is premature, because of the need to
        have several threshold issues addressed.

        (i)     Plaintiff proposes to make its Fed.R. Civ.P. 26(a)(1) disclosures by July 1,
                2010. Defendants propose to make theirs 60 days after the threshold
                issues have been fully briefed and decided.

        (ii)    The Plaintiff expects to be able to furnish names of Plaintiff’s expert
                witnesses by July 1, 2010. Defendants expect to be able to furnish the
                names of the Defendants’ expert witnesses by 60 days after all threshold
                issues are decided by the Court.

        (iii)   It would be advisable in this case to exchange written expert witness
                reports as contemplated by FED. R. CIV. P. 26(a)(2), but Defendants
                respectfully suggest that the exchange of expert reports be taken up, after
                the Court has had a chance to consider the threshold issues and affirmative
                defenses that Defendants have raised.

        (iv)    The parties are unable to agree on voluntary production at this time.


  9)    Discovery: Plaintiff believes that all discovery proceedings can be completed by
        November 1, 2010. Defendants believe that discovery would be premature,
        unnecessary, and wasteful, if any aspect of it is conducted prior to the briefing
        and resolution of the threshold issues raised by the Defendants. Plaintiff
        recommends no more than 40 interrogatories and 5 depositions per side. The

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        defendants recommend no more than 20 interrogatories (single part) and 2
        depositions per side.

  10)   Disclosure or Discovery of Electronically Stored Information: The parties have
        discussed the production of electronically stored information and suggest that
        such information be handled as follows:

        Electronically stored information will be preserved and subject to discovery.

  11)   Assertion of Claims of Privilege or Work-Product Immunity After Production.

        The parties have discussed and agreed that items inadvertently produced which
        are subject to claims of privilege or work-product immunity shall be immediately
        returned to the producing party. The requesting party must then file a motion
        seeking the same and articulating why discovery of the items should be had.

  12)   Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the
        moving party to ascertain whether the motion will be opposed. All motions shall
        affirmatively state the efforts of the moving party to comply with the obligation
        created by Rule 7.1(d).

        The following dispositive motions are contemplated by each party:

        Plaintiff:     None.

        Defendants:    Motion to dismiss for lack of subject-matter jurisdiction.

                       Motion to dismiss for failure to state a claim upon which relief can
                       be granted.

                       Motion to dismiss or stay, based on Federal abstention doctrines.

                       Motion for summary judgment, based on qualified immunity and
                       Anderson v. Creighton requirements.

                       Motion to dismiss based on res judicata and/or Rooker-Feldman
                       doctrine (prohibiting litigation in federal court based on “collateral
                       attack” on binding and final state-court judgment).

        The parties anticipate that all dispositive motions, on threshold issues will be filed
        by July 15, 2010. In the event that the lawsuit survives the threshold issues, then
        the parties suggest that another Rule 16 conference be held, in order to establish a
        due-date for pre-trial dispositive motions.


  13)   Alternative Dispute Resolution:


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             Plaintiff believes that an early settlement conference with the Magistrate Judge
             may be effective in this case. As factual issues appear somewhat in dispute, the
             completion of some initial discovery will likely be required prior to said
             conference.

             Defendants do not believe that any material facts are in dispute, and that the
             parties would receive no benefit whatsoever from any ADR proceedings.
             Defendants are of the view that the case should be dismissed forthwith.


      14)    Length of Trial: Plaintiff’s counsel estimates the trial will last approximately
             2 days total, allocated as follows: 1 day for plaintiff=s case, and 1 day
             for defendants’ case, 0 days for other parties. Defendants are of the view that it is
                     premature to discuss trial dates, when several threshold issues involving
                     federal jurisdiction, abstention, and justiciability need to be addressed.

      15)    Prospects of Settlement: The status of settlement negotiations is:

             Plaintiff: Plaintiff made an initial settlement proposal which was rejected by the
             Defendants. Defendants: Settlement is unlikely on any terms other than the
             voluntary dismissal by Plaintiff of all federal claims, so that the parties can seek
             to have their differences resolved in state court.

      16)    Other:


  /s
_______________                                      ____________________
                                                     /s
NICHOLAS S. AYOUB                                   KARL W. BUTTERER, JR.
Attorney for Plaintiff                              Attorney for Defendants Muskegon Charter
ayoub@wheelerupham.com                              Twp. and Wood
                                                    kbutterer@shrr.com

  /s
_______________________
ERIC C. GRIMM
Attorney for Defendants Hughes,
McGahan and Williams Hughes &
Cook, PLLC
egrimm@whcspc.com




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